 Case 18-30325           Doc 171         Filed 03/01/21 Entered 03/01/21 15:34:04      Desc Main
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    FILED & JUDGMENT ENTERED
           Steven T. Salata


            March 1 2021


     Clerk, U.S. Bankruptcy Court
    Western District of North Carolina
                                                                        _____________________________
                                                                                 J. Craig Whitley
                                                                          United States Bankruptcy Judge




                             UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION

IN RE:                                              )
                                                    )   Case No. 18-30325-JCW
KAREN SUE BLUM,                                     )   Chapter 7
                                                    )
                         Debtor                     )

    EX PARTE ORDER APPROVING APPLICATION TO DEPOSIT TO THE REGISTRY
                                                 FUND
        THIS CAUSE coming to be heard upon the application of the Trustee to deposit the sum
of $28,948.81 the following check, which remained uncashed after ninety (90) days from the
date of distribution of the final dividend, to the registry fund:

Check #                           Name & Address                            Check Amount
5018                        Karen Sue Blum                                    $28,948.81
                            12333 Sandringham Place
                            Charlotte, NC 28262

       Pursuant to the provisions of 11 U.S.C., Section 347, undistributed funds that remain
uncashed after ninety (90) days are to be deposited to the United States Registry Fund.

        AND for good cause shown, it is ORDERED that the aforementioned sum shall be paid
into the Court and disposed of pursuant to Chapter 129 of Title 28.

This Order has been signed electronically.                         United States Bankruptcy Court
The judge’s signature and court’s seal
appear at the top of the Order.
